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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION

MONITRONICS INTERNATIONAL, INC.,
a Texas corporation; MONITRONICS
FUNDING, LP, a Delaware limited
partnership; and MONITRONICS
SECURITY, LP, a Delaware limited
pannetship;

Plaintiffs,
vs.

PINNACLE SECURITY, LLC., a Utah
limited liability company; CHAD
CHRISTOFFERSON, an individual; MOSES
HAWKINS, an individual; ALLSYSTEMS
SECURITY PROFESSIONALS, INC. d/b/a
SAFEHOME SECURITY SYSTEMS, a Utah
corporation; ALARMEX SECURITY, INC.,
a Utah corporation, and its successor in
interest, VIGILON SECURITY, INC., a Utah
corporation; and JOHN DOES 1-20;

Defendants.

 

 

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ORDER GRANTING
PRELIMINARY lNJUNCTION AND
MOTION FOR LIMITED
EXPEDITED DISCOVERY

Civil No. 2:07-cv-575

Honorable Dee Bensotl

 

 

 

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Having lillly considered the EXPARTE APPLICATION FOR TEMPORARY
RESTRAINING ORDER AND MOTION FOR LIMITED EXPEDITED DISCOVERY, and the
supporting memorandum and declarations submitted by Plaintiffs Monitronics lnternational, lnc.,
Monitronics Funding, LP and Mom`tronics Security, LP (collectively, “Monitronics”) and
having heard the oral argument of the parties, the Court has determined that Monitronics has
demonstrated a need for a preliminary injunction against Defendants Pinnacle Security, LLC
(“Pinnacle”) and Chad Chn`stofferson, the Court has also determined that Monitronics has
demonstrated the need for expedited discovery; accordingly, the Court grants Monitronics’
Motion, as follows:

IT IS HEREBY ORDERED:

l. That Pinnacle immediately, within twenty four (24) hours of this Order,
send a notice to all of Pinnacle’s agents, salespersons, independent contractors and any other
person(s) acting for or on its behalf (collectively “Pinnacle’s agents”), stating:

a. l No Pinnacle agent shall hold himself or herself out in any manner
whatsoever, expressly or impliedly, as being associated or affiliated with Monitronics,
including, but not limited to, from using the Monitronics or Monitronics International,
Inc. registered trademarks, trade names or logos for any commercial purpose whatsoever;

b. No Pinnacle agent shall use Monitronics’ badges, I.D. cards, shirts,
stationary, marketing or sales materials or any other materials Whatsoever containing the

Monitronics or Monitronics International, lnc. registered trademarks, trade names or

logos for any commercial purpose Whatsoever;

 

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c. No Pinnacle agent shall state or otherwise imply in any manner to
any person in any commercial context:

(1) That Monitronics is going out of business;

(2) That Pinnacle is acquiring, merging with, has taken over or
is part of Monitronics;

(3) That Monitronics has merged With or has been acquired by
any other company, including, but not limited to, Security Associates
International, Inc. (“SAI”) or FirstLine Security (“FirstLine”)',

(4) That Pinnacle, SAI, FirstLine or any other entity
whatsoever is taking over the monitoring of Monitronics’ accounts or has
purchased the Customer’s account from Monitronics or is a “sister_ company;”

(5) That they are “With Monitronies;”

(6) n That Monitronics is changing its name;

(7) That any change proposed during a solicitation or sale
relating to an existing Monitronics’ alarm monitoring service is an “update” or
“upgrade” when any such proposal (l) actually requires an agreement With a
person or entity different than any of those in an existing alarm system or alarm
monitoring service agreement, or (2) would result in a change in alarm monitoring

service providers;

(8) That Monitronics does not exist; or

 

 

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(9) l That Monitronics is not, or has stopped, monitoring the
alarm system for that person, residence or business, or that Monitronics will no
longer be able to monitor the alarm system for that person, residence or business;

d. . No Pinnacle agent shall draft or send cancellation notices, letters
or the like to Monitronics;

e. No Pinnacle agent shall cancel customers’ Monitronics’ alarm
monitoring service without the customers’ knowledge or authorization;

f. No Pinnacle agent shall impersonate, or represent in any way that
they are, a Monitronics’ customer;

2. Christoi`ferson is prohibited from soliciting the sale or purchase of alarm
monitoring services B‘om any Monitronics’ customer whose Customer AMA was purchased by
Monitronics from AllSystems or Alarmex;

3. Pinnacle must produce to Monitronics’ counsel of record on or before
twenty (20) calendar days from the date of this Preliminary lnjunction:

a. A list, which Will be marked for Attorneys’ Eyes Only, identifying
(by narne, current address and current phone number) all persons and entities who have
signed an agreement With Pinnacle for alarm monitoring service from May l7 2007 to the
date of the Preliminary Injunction, unless Pinnacle is able to and does produce a list of all
persons and entities who have signed an agreement With Pinnacle for alarm monitoring
service from May 1, 2007 to August 9, 2007 who had been Monitronics’ customers; and

b. A list, Which will be marked for Attorneys’ Eyes Only, identifying

(by name, current address and current phone number) all salespersons employed by, or

 

 

 

 

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otherwise used by, Pinnacle to solicit or sell alarm monitoring service during the period
May l, 2007 to August 9, 2007;

4. Pinnacle shall make the following individuals available for deposition, to
be conducted in accordance With the Federal Rules of Civil Procedure, within five (5) business
days from the date of the Temporary Restraining Order: Moses I-Iawkins; Blake McCarty; J osh
Willard; Ryan Bezan; Wayne Jenkins; Anthony Fogh; and Mick Howard.

5. Pinnacle and Christofferson shall not destroy any documents, items or
other evidence of any kind that could be reasonably calculated to lead to the discovery of
admissible evidence herein.

6. Nothing herein is intended to prohibit Pinnacle or Christofferson from
referencing or referring to Monitronics for legitimate commercial purposes

DATED this 9th day of August, 2007.

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Honora‘ble Dee Bens;in
Federal District Court, District of Utah

 

 

